Case 1:15-cv-00728-CKK-MAU Document 138-3 Filed 02/16/23 Page 1 of 11




             EXHIBIT 3
            Case 1:15-cv-00728-CKK-MAU Document 138-3 Filed 02/16/23 Page 2 of 11




From:                            Auerbach, Dennis <dauerbach@cov.com>
Sent:                            Monday, February 13, 2023 4:41 PM
To:                              Sweet, Mark; Block, Benjamin; Frodle, Amee
Cc:                              Ross, Bennett L.; Scaduto, Frank; Tuteur, Rachel; Obermeier, Stephen; Hutt II, Peter;
                                 Dolan, Madeleine; Gerson, Jessica M
Subject:                         RE: US ex rel. Vermont Natl v. Northstar - Second Set of Document Requests


Mark,

Regarding outside counsel files, we agree that we will search Peter Hutt's files for communications with the DOJ
concerning Auction 97 and produce any responsive documents, in addition to producing non-privileged outside-counsel
materials from the files of Messrs. Dever and Brosse concerning Auction 97, as referenced in your email. With that, I
believe the open issues concerning Relator's RFPs to the Northstar Defendants are resolved.

Regards,
Dennis

        From: Sweet, Mark <MSweet@wiley.law>
        Sent: Monday, February 13, 2023 11:32 AM
        To: Block, Benjamin <bblock@cov.com>; Auerbach, Dennis <dauerbach@cov.com>; Frodle, Amee
        <AFrodle@cov.com>
        Cc: Ross, Bennett L. <BRoss@wiley.law>; Scaduto, Frank <FScaduto@wiley.law>; Tuteur, Rachel
        <RTuteur@wiley.law>; Obermeier, Stephen <SObermeier@wiley.law>; Hutt II, Peter <PHuttJr@cov.com>;
        Dolan, Madeleine <MDolan@cov.com>; Gerson, Jessica M <JGerson@cov.com>
        Subject: RE: US ex rel. Vermont Natl v. Northstar - Second Set of Document Requests

        [EXTERNAL]
        Ben, Dennis, and Amee,

        Thanks for speaking with us this morning regarding Northstar’s search of its outside counsel files and the
        temporal scope of production.

        Search of Outside Counsel Files
        We understand that Northstar is willing to search the files of its two principal outside counsel, Mark Dever
        and Michael Brosse, for their external communications with the FCC, DOJ, other Defendants (and their
        counsel), and Investors (and their counsel) in connection with Auction 97. You have explained that Mr.
        Dever was Northstar’s lead counsel for FCC matters in connection with Auction 97, and that Mr. Brosse was
        Northstar’s lead counsel for negotiating agreements with the other Defendants and Investors. As a result,
        you think these two attorneys will be the most likely outside counsel sources for responsive external
        communications. You’ve also explained that Covington (and to a limited extent, Akin Gump) have
        represented Northstar in connection with this litigation.

        Based on what you’ve represented, we believe this is a reasonable search and resolves our disagreement
        about Northstar’s search of outside counsel files, as long as Northstar also searches the files of its lead
        outside counsel for this litigation for communications with DOJ.

        Temporal Scope of Production
        In light of our agreement on categorical privilege logging, we understand that Northstar is willing to produce
        responsive documents up through the date of Northstar’s collection, which you’ve represented occurred in
        early January 2023. We agree this is a reasonable time period for the search and production and resolves
        our disagreement about the temporal scope of Relator’s document requests.
                                                            1
Best regards,
Mark



                                                                      Mark B. Sweet
                                                                      Attorney at Law
                                                                      msweet@wiley.law

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o: 202.719.4649 • m: 202.641.1554
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From: Auerbach, Dennis <dauerbach@cov.com>
Sent: Monday, February 13, 2023 9:44 AM
To: Sweet, Mark <MSweet@wiley.law>
Cc: Ross, Bennett L. <BRoss@wiley.law>; Scaduto, Frank <FScaduto@wiley.law>; Tuteur, Rachel
<RTuteur@wiley.law>; Obermeier, Stephen <SObermeier@wiley.law>; Hutt II, Peter <PHuttJr@cov.com>;
Frodle, Amee <AFrodle@cov.com>; Dolan, Madeleine <MDolan@cov.com>; Gerson, Jessica M
<JGerson@cov.com>; Block, Benjamin <bblock@cov.com>
Subject: RE: US ex rel. Vermont Natl v. Northstar - Second Set of Document Requests

Ok, I'll send an invite.

         From: Sweet, Mark <MSweet@wiley.law>
         Sent: Monday, February 13, 2023 9:42 AM
         To: Auerbach, Dennis <dauerbach@cov.com>
         Cc: Ross, Bennett L. <BRoss@wiley.law>; Scaduto, Frank <FScaduto@wiley.law>; Tuteur, Rachel
         <RTuteur@wiley.law>; Obermeier, Stephen <SObermeier@wiley.law>; Hutt II, Peter
         <PHuttJr@cov.com>; Frodle, Amee <AFrodle@cov.com>; Dolan, Madeleine <MDolan@cov.com>;
         Gerson, Jessica M <JGerson@cov.com>; Block, Benjamin <bblock@cov.com>
         Subject: RE: US ex rel. Vermont Natl v. Northstar - Second Set of Document Requests

         [EXTERNAL]
         Yes, we can still talk at 10:00.

                                                                                 Mark B. Sweet
                                                                                 Attorney at Law
                                                                                 msweet@wiley.law
Case 1:15-cv-00728-CKK-MAU   Document
         Wiley Rein LLP • 2050 M Street138-3
                                        NW • Filed 02/16/23 DC
                                             Washington,     Page 3 of 11
                                                               20036
         o: 202.719.4649 • m: 202.641.1554
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         From: Auerbach, Dennis <dauerbach@cov.com>
         Sent: Monday, February 13, 2023 9:15 AM
         To: Sweet, Mark <MSweet@wiley.law>
         Cc: Ross, Bennett L. <BRoss@wiley.law>; Scaduto, Frank <FScaduto@wiley.law>; Tuteur, Rachel
         <RTuteur@wiley.law>; Obermeier, Stephen <SObermeier@wiley.law>; Hutt II, Peter
         <PHuttJr@cov.com>; Frodle, Amee <AFrodle@cov.com>; Dolan, Madeleine <MDolan@cov.com>;
         Gerson, Jessica M <JGerson@cov.com>; Block, Benjamin <bblock@cov.com>
         Subject: RE: US ex rel. Vermont Natl v. Northstar - Second Set of Document Requests
                                                     2
        Why don't I move my other call so that we can do 10:00. Does that still work?

                From: Sweet, Mark <MSweet@wiley.law>
                Sent: Monday, February 13, 2023 9:04 AM
                To: Auerbach, Dennis <dauerbach@cov.com>
                Cc: Ross, Bennett L. <BRoss@wiley.law>; Scaduto, Frank <FScaduto@wiley.law>; Tuteur, Rachel
                <RTuteur@wiley.law>; Obermeier, Stephen <SObermeier@wiley.law>; Hutt II, Peter
                <PHuttJr@cov.com>; Frodle, Amee <AFrodle@cov.com>; Dolan, Madeleine
                <MDolan@cov.com>; Gerson, Jessica M <JGerson@cov.com>; Block, Benjamin
                <bblock@cov.com>
                Subject: Re: US ex rel. Vermont Natl v. Northstar - Second Set of Document Requests

                [EXTERNAL]
                Dennis,

                10:30 does not work, but we can do 11:00. Let me know if that works for you.

                Mark

                On Feb 13, 2023, at 8:40 AM, Auerbach, Dennis <dauerbach@cov.com> wrote:


                I have another call at 10. Would 10:30 work?

                          From: Sweet, Mark <MSweet@wiley.law>
                          Sent: Sunday, February 12, 2023 12:44 PM
                          To: Auerbach, Dennis <dauerbach@cov.com>
                          Cc: Ross, Bennett L. <BRoss@wiley.law>; Scaduto, Frank <FScaduto@wiley.law>; Tuteur,
                          Rachel <RTuteur@wiley.law>; Obermeier, Stephen <SObermeier@wiley.law>; Hutt II,
                          Peter <PHuttJr@cov.com>; Frodle, Amee <AFrodle@cov.com>; Dolan, Madeleine
                          <MDolan@cov.com>; Gerson, Jessica M <JGerson@cov.com>; Block, Benjamin
                          <bblock@cov.com>
                          Subject: RE: US ex rel. Vermont Natl v. Northstar - Second Set of Document Requests

                          [EXTERNAL]
                          Dennis,

                          We can agree to categorial privilege logging of Categories A and B subject to the
                          clarification below.
Case 1:15-cv-00728-CKK-MAU Document 138-3 Filed 02/16/23 Page 4 of 11
                          We are available at 10:00 tomorrow morning to discuss the search of outside counsel
                          files, if that works for you.

                          Mark

                                                                                                              Mark B. Swe
                          <image001.png>                                                                      Attorney at L
                                                                                                              msweet@wi

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                          o: 202.719.4649 • m: 202.641.1554
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                                                              3
                       From: Auerbach, Dennis <dauerbach@cov.com>
                       Sent: Friday, February 10, 2023 6:57 PM
                       To: Sweet, Mark <MSweet@wiley.law>
                       Cc: Ross, Bennett L. <BRoss@wiley.law>; Scaduto, Frank <FScaduto@wiley.law>; Tuteur,
                       Rachel <RTuteur@wiley.law>; Obermeier, Stephen <SObermeier@wiley.law>; Hutt II,
                       Peter <PHuttJr@cov.com>; Frodle, Amee <AFrodle@cov.com>; Dolan, Madeleine
                       <MDolan@cov.com>; Gerson, Jessica M <JGerson@cov.com>; Block, Benjamin
                       <bblock@cov.com>
                       Subject: RE: US ex rel. Vermont Natl v. Northstar - Second Set of Document Requests

                       Thanks Mark. I'm glad we have agreement on category A. As to category B, we agree
                       that, to the extent there is privilege, categorical logging would not apply to
                       communications between counsel for different Defendants concerning renegotiation or
                       amendment of the Defendants’ agreements, deployment of spectrum and buildout of
                       networks, the transfer of licenses (including exercise of the put right), investment in and
                       finances of the Defendants, and other business operations of the Defendants. With that
                       understanding, can we agree that categorical logging will apply to
                       privileged communications that specifically pertain to this litigation and the FCC
                       litigations? I used "post-2015" as shorthand in my email, but the litigations obviously
                       began in May 2015, so the categorical-logging agreement I envision would encompass
                       litigation-related communications in 2015 as well.

                       I suggest that we have a call on Monday morning to nail this down and to discuss the
                       other issue -- searching outside-counsel files. Please let me know if that would work.

                       Have a good weekend.

                       Regards,
                       Dennis

                              From: Sweet, Mark <MSweet@wiley.law>
                              Sent: Friday, February 10, 2023 5:43 PM
                              To: Auerbach, Dennis <dauerbach@cov.com>
                              Cc: Ross, Bennett L. <BRoss@wiley.law>; Scaduto, Frank <FScaduto@wiley.law>;
                              Tuteur, Rachel <RTuteur@wiley.law>; Obermeier, Stephen
                              <SObermeier@wiley.law>; Hutt II, Peter <PHuttJr@cov.com>; Frodle, Amee
                              <AFrodle@cov.com>; Dolan, Madeleine <MDolan@cov.com>; Gerson, Jessica M
                              <JGerson@cov.com>; Block, Benjamin <bblock@cov.com>
                              Subject:
Case 1:15-cv-00728-CKK-MAU Document    RE: US
                                     138-3     ex02/16/23
                                            Filed rel. Vermont
                                                           PageNatl
                                                                5 of v.
                                                                     11Northstar - Second Set of Document
                              Requests

                               [EXTERNAL]
                               Dennis,

                               Categorical Privilege Logging
                               We agree that Category A, communications between Doyon/Northstar and its
                               outside counsel, can be categorically logged. With respect to Category B,
                               post-2015 communications with DISH and/or SNR that specifically pertain to
                               the defense of this litigation and/or the FCC litigation, we noticed that your
                               language appears a little broader than our proposal (communications “solely
                               related to the pleadings”). We are trying to avoid an overly broad
                               interpretation that swallows all communications between the Defendants
                                                   4
                               during this period. Can we agree categorical logging would not apply to
                               communications between the Defendants’ counsel on renegotiation or
                               amendment of the Defendants’ agreements, deployment of spectrum and
                               buildout of networks, the transfer of licenses (including exercise of the put
                               right), investment in and finances of the Defendants, and other business
                               operations of the Defendants?

                               We also agree that our request has been narrowed to external
                               communications of outside counsel, so internal work product and
                               communications of outside counsel are not responsive and need not be
                               logged.

                               Search of Outside Counsel Files
                               The position you’ve asserted regarding the search of outside counsel files
                               seems inconsistent to us with the proposal you’ve offered for privilege
                               logging. The purpose of allowing categorical logging is to minimize the
                               burden of searching the files of outside counsel. Are you asking for
                               categorical privilege logging of outside counsel communications AND
                               refusing to search outside counsel files?

                               Regardless, our position for Northstar is the same for our position for SNR
                               and DISH. We believe that counsel’s communications with the other
                               Defendants and Investors (and both of their counsel) are probative. With the
                               categorical logging discussed above, such a search would not be unduly
                               burdensome. Additionally, we have no objection to Northstar filing a response
                               to our motion to compel no later than Monday, if Northstar agrees to be
                               bound by the decision. We do not agree to any separate correspondence
                               with the court or efforts to restart the process on the issues raised in our
                               brief. And, if you are seeking leave to file something without committing to
                               being bound by the decision, then we oppose the request.

                               Northstar’s Recent Production
                               Finally, we have reviewed your recent document production. Attached is a
                               letter discussing that production.

                               Mark




                               <image001.png>

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Case 1:15-cv-00728-CKK-MAU Document 138-3 Filed•02/16/23
                              o: 202.719.4649            Page 6 of 11
                                                 m: 202.641.1554
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                               From: Auerbach, Dennis <dauerbach@cov.com>
                               Sent: Friday, February 10, 2023 1:31 PM
                               To: Sweet, Mark <MSweet@wiley.law>
                               Cc: Ross, Bennett L. <BRoss@wiley.law>; Scaduto, Frank <FScaduto@wiley.law>;
                               Tuteur, Rachel <RTuteur@wiley.law>; Obermeier, Stephen
                               <SObermeier@wiley.law>; Hutt II, Peter <PHuttJr@cov.com>; Frodle, Amee
                               <AFrodle@cov.com>; Dolan, Madeleine <MDolan@cov.com>; Gerson, Jessica M
                               <JGerson@cov.com>; Block, Benjamin <bblock@cov.com>

                                                       5
                               Subject: RE: US ex rel. Vermont Natl v. Northstar - Second Set of Document
                               Requests

                               Mark,

                               I'm just following up on the below email. I continue to hope that we can resolve
                               the open issues, but otherwise we'll need to know your position on a motion for
                               leave to submit a short paper in connection with the SNR motion to
                               compel. We're happy to discuss.

                               Thanks,
                               Dennis

                               From: Auerbach, Dennis
                               Sent: Wednesday, February 08, 2023 3:25 PM
                               To: 'Sweet, Mark' <MSweet@wiley.law>
                               Cc: Ross, Bennett L. <BRoss@wiley.law>; Scaduto, Frank <FScaduto@wiley.law>;
                               Tuteur, Rachel <RTuteur@wiley.law>; Obermeier, Stephen
                               <SObermeier@wiley.law>; Hutt II, Peter <PHuttJr@cov.com>; Frodle, Amee
                               <AFrodle@cov.com>; Dolan, Madeleine <MDolan@cov.com>; Gerson, Jessica M
                               <JGerson@cov.com>; Block, Benjamin <bblock@cov.com>
                               Subject: RE: US ex rel. Vermont Natl v. Northstar - Second Set of Document
                               Requests

                               Mark,

                               This responds to your letter dated February 1, 2023. I will address the issues
                               raised in that letter in turn:

                               Categorical Privilege Logging

                               Your letter proposes a further compromise regarding categorical privilege
                               logging, which we appreciate. I think that we can resolve this issue if Relator
                               agrees that Northstar Defendants may categorically log the following:

                               A.      Communications between Doyon/Northstar and its outside counsel
                               (regardless of date);

                               and
Case 1:15-cv-00728-CKK-MAU Document 138-3 Filed 02/16/23 Page 7 of 11
                               B.      Post-2015 communications with DISH and/or SNR that specifically
                               pertain to the defense of this litigation and/or the FCC litigation (including both
                               the 2015 FCC litigation and the 2018 FCC cure proceeding).

                               Categorical logging of pre-October 27, 2015 documents along the lines set forth
                               above is critical because we could have 10,000 or more privileged documents
                               for the pre-October 27, 2015 period. It is substantially likely that the post-
                               October 27, 2015 number will be even larger given all of the legal proceedings
                               that have been going on since then. Providing a document-by-document log for
                               this quantity of documents would be an enormous undertaking. Relator cannot
                               reasonably expect Northstar Defendants to produce documents extending over
                               a massive 17-year date range (beginning in 2006 as regards Auction 66, and
                                                   6
                               extending to the present), and also ask that we individually log what may well
                               be tens of thousands of privileged documents.

                               Your February 1 letter also proposes categorical logging of internal law-firm
                               communications. Leaving aside the current difference in our positions on
                               searches of outside counsel files, as Relator is not seeking internal law-firm
                               communications from outside counsel, we don't believe that we need to
                               address such documents in an agreement concerning categorical logging.

                               Search of Outside Counsel Files

                               Relator's demand that we search for and produce documents from the files of
                               Northstar Defendants' outside counsel is unduly burdensome and
                               disproportionate to the reasonable needs of the case. We reject the suggestion
                               that there is anything "unusual" in corporate entities having outside counsel. To
                               the contrary, that is typical. Collection and production of documents in outside
                               counsel's possession is not the norm in civil litigation given the obvious burden
                               and privilege issues, not to mention the practical impracticalities of conducting
                               ESI review of a law firm's files. We have proposed a reasonable compromise of
                               agreeing to have Northstar's outside FCC counsel search for any
                               communications with the FCC or DOJ related to Auction 97. As to your demand
                               for communications between outside counsel and non-Northstar third parties
                               more generally, our production will already contain non-privileged
                               communications between outside counsel for the Northstar Defendants and
                               third parties like DISH that involve commercial negotiations related to Auction
                               97, which were either forwarded to Northstar custodians or on which Northstar
                               custodians were cc'd -- all of which we will produce. In light of that, your
                               request that we also search for and produce such communications from the files
                               of Northstar Defendants' outside counsel is disproportionate -- especially in light
                               of the exceedingly lengthy 17-year date range covered by Relator's first and
                               second document requests.

                               We look forward to your prompt response on whether we have an agreement
                               on these topics. If we do not, and as the discovery motion that you filed avers
                               that these issues are germane to all defendants, we will need to seek leave to
                               file a short submission for the Court on the burden/lack of proportionality of
                               your time period and outside counsel demands as they pertain to the Northstar
                               Defendants. Please let us know if you will consent to such a motion for leave if
                               we are unable to reach agreement as outlined above.
Case 1:15-cv-00728-CKK-MAU Document 138-3 Filed 02/16/23 Page 8 of 11
                               We are available to discuss.

                               Regards,
                               Dennis

                               From: Sweet, Mark <MSweet@wiley.law>
                               Sent: Wednesday, February 01, 2023 4:32 PM
                               To: Auerbach, Dennis <dauerbach@cov.com>
                               Cc: Ross, Bennett L. <BRoss@wiley.law>; Scaduto, Frank <FScaduto@wiley.law>;
                               Tuteur, Rachel <RTuteur@wiley.law>; Obermeier, Stephen
                               <SObermeier@wiley.law>; Hutt II, Peter <PHuttJr@cov.com>; Frodle, Amee
                               <AFrodle@cov.com>; Dolan, Madeleine <MDolan@cov.com>; Gerson, Jessica M
                                                   7
                               <JGerson@cov.com>; Block, Benjamin <bblock@cov.com>
                               Subject: RE: US ex rel. Vermont Natl v. Northstar - Second Set of Document
                               Requests

                               [EXTERNAL]
                               Dennis,

                               Attached is a letter responding to your recent letter.

                               Best,
                               Mark




                               <image001.png>

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                               o: 202.719.4649 • m: 202.641.1554
                               Download V-Card | wiley.law | Bio




                               From: Auerbach, Dennis <dauerbach@cov.com>
                               Sent: Wednesday, January 25, 2023 1:59 PM
                               To: Sweet, Mark <MSweet@wiley.law>
                               Cc: Ross, Bennett L. <BRoss@wiley.law>; Scaduto, Frank <FScaduto@wiley.law>;
                               Tuteur, Rachel <RTuteur@wiley.law>; Obermeier, Stephen
                               <SObermeier@wiley.law>; Hutt II, Peter <PHuttJr@cov.com>; Frodle, Amee
                               <AFrodle@cov.com>; Dolan, Madeleine <MDolan@cov.com>; Gerson, Jessica M
                               <JGerson@cov.com>; Block, Benjamin <bblock@cov.com>
                               Subject: RE: US ex rel. Vermont Natl v. Northstar - Second Set of Document
                               Requests

                               Mark,

                               Please see the attached letter.

                               Regards,
                               Dennis

                               From: Sweet, Mark <MSweet@wiley.law>
Case 1:15-cv-00728-CKK-MAU Document 138-3 Filed
                              Sent: Monday,     02/16/23
                                             January      Page 3:21
                                                      23, 2023 9 of 11
                                                                     PM
                               To: Block, Benjamin <bblock@cov.com>; Auerbach, Dennis
                               <dauerbach@cov.com>
                               Cc: Ross, Bennett L. <BRoss@wiley.law>; Scaduto, Frank <FScaduto@wiley.law>;
                               Tuteur, Rachel <RTuteur@wiley.law>; Obermeier, Stephen
                               <SObermeier@wiley.law>; Hutt II, Peter <PHuttJr@cov.com>; Frodle, Amee
                               <AFrodle@cov.com>; Dolan, Madeleine <MDolan@cov.com>; Gerson, Jessica M
                               <JGerson@cov.com>
                               Subject: RE: US ex rel. Vermont Natl v. Northstar - Second Set of Document
                               Requests

                               [EXTERNAL]
                               Ben and Dennis,
                                                       8
                                Please see the attached letter.

                                Mark




                                <image001.png>

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                                o: 202.719.4649 • m: 202.641.1554
                                Download V-Card | wiley.law | Bio




                                From: Auerbach, Dennis <dauerbach@cov.com>
                                Sent: Tuesday, January 10, 2023 6:25 PM
                                To: Sweet, Mark <MSweet@wiley.law>
                                Cc: Ross, Bennett L. <BRoss@wiley.law>; Scaduto, Frank <FScaduto@wiley.law>;
                                Tuteur, Rachel <RTuteur@wiley.law>; Obermeier, Stephen
                                <SObermeier@wiley.law>; Hutt II, Peter <PHuttJr@cov.com>; Frodle, Amee
                                <AFrodle@cov.com>; Dolan, Madeleine <MDolan@cov.com>; Block, Benjamin
                                <bblock@cov.com>; Gerson, Jessica M <JGerson@cov.com>
                                Subject: RE: US ex rel. Vermont Natl v. Northstar - Second Set of Document
                                Requests

                                Mark,

                                We have received Relator's second RFPs dated January 6 and your
                                accompanying letter. We will serve formal responses and objections to the
                                second RFPs in due course. We wanted to email you now, however, because it
                                will not be efficient to do separate ESI reviews and productions for your first and
                                second RFPs. Accordingly, we will search for documents concerning Auctions 66
                                and 96 -- the subjects of Relator's second RFPs -- in connection with our search
                                for responsive documents concerning Auction 97. In doing so, we will go back
                                to 2006, and we will add the following search terms to capture potentially
                                responsive Auction 66 and 96 documents:

                              Denali NOT “Denali Universal Services” or “Denali National Park” or “Denali
                              River Cabins”
Case 1:15-cv-00728-CKK-MAU Document 138-3 Filed 02/16/23 Page 10 of 11
                              Leap
                              Cricket
                              H-Block

                                Denali Spectrum was the Doyon entity that participated in Auction 66, and
                                Leap/Cricket was an investor in Denali. That is why we have added those terms
                                to the list. We understand that Auction 96 is sometimes referred to as the "H-
                                block" auction, which is why we have included that term. Our search-term list
                                already includes the terms "auction" and "spectrum" so those terms won't need
                                to be added.



                                                        9
                                Note that the new RFPs (and these new search terms and the expanded date
                                range) may result in some delay in our production depending on the volume of
                                additional documents identified through the added search terms and expanded
                                date range, but we will still plan to produce responsive non-privileged
                                documents to you on a rolling basis.

                                Regards,
                                Dennis

                                From: Sweet, Mark <MSweet@wiley.law>
                                Sent: Friday, January 06, 2023 5:21 PM
                                To: Block, Benjamin <bblock@cov.com>; Auerbach, Dennis
                                <dauerbach@cov.com>
                                Cc: Ross, Bennett L. <BRoss@wiley.law>; Scaduto, Frank <FScaduto@wiley.law>;
                                Tuteur, Rachel <RTuteur@wiley.law>; Obermeier, Stephen
                                <SObermeier@wiley.law>; Hutt II, Peter <PHuttJr@cov.com>; Maya, Michael
                                <mmaya@cov.com>; Frodle, Amee <AFrodle@cov.com>; Dolan, Madeleine
                                <MDolan@cov.com>
                                Subject: US ex rel. Vermont Natl v. Northstar - Second Set of Document
                                Requests

                                [EXTERNAL]
                                Ben and Dennis,

                                Attached are a letter and second set of document requests to the Northstar
                                Defendants.

                                Best regards,
                                Mark



                                <image001.png>

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                                o: 202.719.4649 • m: 202.641.1554
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                                Please update your records to reflect our new office address.


                                          ail and any attachments.
                                      CONFIDENTIALITY:
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                                          Filed 02/16/23 Page 11 of 11email    and any attachments are
                                          confidential, except where the email states it can be disclosed, and
                                          it may also be privileged. If received in error, please do not
                                          disclose the contents to anyone, but notify the sender and delete
                                          this email and any attachments.




                                                        10
